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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ALABAMA
                              SOUTHERN DIVISION

CANDICE L. BOX,                             )
                                            )
       Plaintiff,                           )
                                            )   CASE NO.: 1:17-cv-00122-CG-M
v.                                          )
                                            )
GEICO CASUALTY COMPANY;                     )
GEICO GENERAL INSURANCE                     )
COMPANY, et al,                             )
                                            )
       Defendants.                          )




     PLAINTIFF’S NOTICE OF SERVICE OF REQUIRED EXPERT DISCLOSURES


       Plaintiff hereby gives notice that the following discovery-related papers have been

served to all parties via electronic mail as of today, this 11th day of September, 2017.

       1.     Plaintiff’s Rule 26(a)(2) Disclosures

       2.     Plaintiff’s Rule 26(a)(2)(B) Report


                                         Respectfully submitted,
                                         /s/ Robert L. Mitchell
                                         ROBERT L. MITCHELL (MITCR9956)
                                         Attorney for Plaintiff

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                               CERTIFICATE OF SERVICE

        I hereby certify that on this 11th date of SEPTEMBER, 2017, I electronically filed
the Notice of the foregoing with the Clerk of the Court using the CM/ECF system, which
will send notification of the filing of the foregoing to all counsel of record, and/or served
such pleading on all counsel of record via electronic mail.



                                           /s/ Robert L. Mitchell
                                           ROBERT L. MITCHELL (MITCR9956)
                                           Attorney for Plaintiff
